                            Case 23-10366-JTD             Doc 22       Filed 03/29/23        Page 1 of 3



                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

                                                                         )
        In re:                                                           )     Chapter 11
                                                                         )
        SIO2 MEDICAL PRODUCTS, INC., et al.,1                            )     Case No. 23-10366 (JTD)
                                                                         )
                                 Debtors.                                )     (Joint Administration Requested)
                                                                         )

                    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

                 PLEASE TAKE NOTICE that the attorneys listed below enter their appearances (this “Notice of

    Appearance”) as counsel to Oaktree Capital Management, L.P. (collectively with its affiliated investment

    funds and affiliates, “Oaktree”) pursuant to sections 342 and 1109(b) of title 11 of the United States Code,

    11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rules 2002, 3017, 9007, and 9010 of the Federal

    Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and request that all notices given or required

    to be given in the chapter 11 cases (collectively, the “Chapter 11 Cases”) of the above-captioned debtors

    (the “Debtors”), and all papers served or required to be served in the Chapter 11 Cases, be given and

    served upon:

                 SULLIVAN & CROMWELL, LLP                           YOUNG CONAWAY STARGATT &
                 Ari B. Blaut                                       TAYLOR, LLP
                 Benjamin S. Beller                                 Pauline K. Morgan
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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
          are: SiO2 Medical Products, Inc. (8467); Advanced Bioscience Labware, Inc. (1229); and Advanced Bioscience
          Consumables, Inc. (2510). The location of the Debtors’ principal place of business and service address in these chapter
          11 cases is 2250 Riley Street, Auburn, Alabama 36832.

30217563.2
                       Case 23-10366-JTD          Doc 22     Filed 03/29/23     Page 2 of 3



             PLEASE TAKE FURTHER NOTICE that the foregoing demand is not only for the notices and

    papers referred to in the sections of the Bankruptcy Code and the Bankruptcy Rules specified above, but

    also includes, without limitation, any and all orders and notices of any application, motion, petition,

    complaint, demand, request, or other pleading in the Chapter 11 Cases, whether formal or informal,

    whether written or oral, and whether transmitted or conveyed by mail, delivery, telephone, electronically,

    or otherwise filed with or delivered to the Bankruptcy Clerk, Court, or Judge (as those terms are defined

    in Bankruptcy Rule 9001), which affects the Debtors or their property or Oaktree.

             PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance, nor any later

    appearances, pleadings, proofs of claim, claims, or suits filed in the Chapter 11 Cases, shall be deemed or

    construed as a waiver: (i) of any rights of Oaktree to (a) have final orders in any non-core matters entered

    only after de novo review by a District Judge, (b) trial by jury in any proceeding so triable, or (c) have the

    District Court withdraw the reference in any matter subject to mandatory or discretionary withdrawal; or

    (ii) of any other rights (including setoff and recoupment), claims, actions, defenses, and remedies of

    Oaktree, whether in law or in equity, or under any agreements or otherwise, all of which rights, claims,

    actions, defenses and remedies are expressly reserved.




30217563.2


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                     Case 23-10366-JTD   Doc 22     Filed 03/29/23   Page 3 of 3



      Dated: March 29, 2023              YOUNG CONAWAY STARGATT &
             Wilmington, Delaware        TAYLOR, LLP

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                                          - and -

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30217563.2


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